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                         UNITED STATES COURT OF APPEALS
                              FOR THE SIXTH CIRCUIT
                               100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt            POTTER STEWART U.S. COURTHOUSE             Tel. (513) 564-7000
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                                               Filed: June 29, 2023


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             Case: 23-5600       Document: 1      Filed: 06/29/2023     Page: 2




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                 Re: Case No. 23-5600, L. W., et al v. Jonathan Skrmetti, et al
                     Originating Case No. : 3:23-cv-00376
              Case: 23-5600        Document: 1       Filed: 06/29/2023       Page: 3




Dear Counsel,

   This appeal has been docketed as case number 23-5600 with the caption that is enclosed on a
separate page. The appellate case number and caption must appear on all filings submitted to the
Court. If the filing fee was not paid when the notice of appeal was filed, it must be paid to the
district court immediately.

   Before preparing any documents to be filed, counsel are strongly encouraged to read the Sixth
Circuit Rules at www.ca6.uscourts.gov. If you have not established a PACER account and
registered with this court as an ECF filer, you should do so immediately. Your password for
district court filings will not work in the appellate ECF system.

    At this stage of the appeal, the following forms should be downloaded from the web site and
filed with the Clerk's office by July 13, 2023. Additionally, the transcript order must be
completed by that date. For further information and instructions on ordering transcript
electronically, please visit the court's website.

                                 Appearance of Counsel
                   Appellant:    Civil Appeal Statement of Parties & Issues
                                 Disclosure of Corporate Affiliations
                                 Application for Admission to 6th Circuit Bar (if applicable)

                                 Appearance of Counsel
                   Appellee:     Disclosure of Corporate Affiliations
                                 Application for Admission to 6th Circuit Bar (if applicable)

    More specific instructions are printed on each form. If appellant's initial forms are not timely
filed or necessary fees paid, the appeal will be dismissed for want of prosecution. If you have
questions after reviewing the forms and the rules, please contact the Clerk's office for assistance.

                                                  Sincerely yours,

                                                  s/C. Anthony Milton
                                                  Case Manager
                                                  Direct Dial No. 513-564-7026


Enclosure
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              OFFICIAL COURT OF APPEALS CAPTION FOR 23-5600




L. W., by and through her parents and next friends, Samantha Williams and Brian Williams;
SAMANTHA WILLIAMS; BRIAN WILLIAMS; JOHN DOE, by and through his parents and
next friends, Jane Doe and James Doe; JANE DOE; JAMES DOE; REBECCA ROE; SUSAN N.
LACY, on behalf of herself and her patients; RYAN ROE, by and through his parent and next
friend, Rebecca Roe

           Plaintiffs - Appellees

and

UNITED STATES OF AMERICA

           Intervenor - Appellee

v.

JONATHAN THOMAS SKRMETTI, in his official capacity as the Tennessee Attorney General
and Reporter, et al.

           Defendants - Appellants
